        Case 3:11-cr-00606-JAH                         Document 115                  Filed 12/22/11                PageID.1407                Page 1 of 2


     ~AO 245B (CASD) (Rcv, 8/11)     Judgment in a Criminal Case
                Sheet I




                                                    SOUTHERN DISTRICT OF cAI/JI<frl5iR
                      UNITED STATES OF AMERICA                                        AMENDIt1'Jm1D1~~!j:.LIKAj~~~L CASE
                                          v.
                           Nelida Adriana Dimas -3                                    Case Number: 11-cr-00606-JAH-3
                                                                                       Michael Stephen Berg
                                                                                      Defendant's Attorney
     REGISTRATION NO. 23625298
    [8J Correction: two page jUdgment
     THE DEFENDANT:
     [8J pleaded guilty to count(s) ..:O::.:n::,:e:...-::co:,:u::n:.:t..:.;in::.:1i:,:o.:,:rm=at:.:io::n::.:,_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
     o     was found guilty on count(s)' _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not guilty,
           Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                                  Count
     Title & Section                       Nature of Offense                                                                                    Number(s)
8: 1324(a)(l )(A)(ii)                   Transportation of Illegal Aliens                                                                        3
8 USC 1326




        The defendant is sentenced as provided in pages 2 through     2     of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 o    The defendant has been found not guilty on count(s} _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
 o    Count(s}_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is                                0      areD dismissed on the motion of the United States.
 [8J Assessment: $100.00 waived.


 [8J No fine                                          o Forfeiture pursuant to order filed _ _ _ _ _ _ _ _ _ , included herein.
       IT IS ORDERED that the defendant shall notifY the United States attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid, If ordered to pay restitution, the
 defendant shall notifY the court and United States attorney of any material change in the defendant's economic circumstances,

                                                                                 November 21,2011




                                                                                                                                               II-cr-00606-JAH-3
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AO 245B «(ASD) (Rev. 8/11) Judgment in a Criminal Case
           Sheet 2    Imprisonment

                                                                                            Judgment -   Page _ _2~_ of       2
 DEFENDANT: Nelida Adriana Dimas -3
 CASE NUMBER: ll-cr-00606-JAH-3
                                                          IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
         Time served.



    o Sentence imposed pursuant to Title 8 USC Section 1326(b).
    o The court makes the following recommendations to the Bureau of Prisons:


    o The defendant is remanded to the custody of the United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
           Oat                                    Oa.m.    Op.m.    on
               as notified by the United States Marshal.

    o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          o before
                   -------------------------------------------------------------
          o as notified by the United States Marshal.
          o as notified by the Probation or Pretrial Services Office.
                                                             RETURN
 I have executed this judgment as follows:

         Defendant delivered on                                                to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                          UNITED STATES MARSHAL


                                                                   By __________~~~==~~~~~-----------
                                                                                      DEPUTY UNITED STATES MARSHAL




                                                                                                                 l1-cr-00606..JAH-3
